














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-66,691-01






EX PARTE DOUGLAS A. FELDMAN









ON APPLICATION FOR WRIT OF HABEAS CORPUS

IN CAUSE NO. W99-00068-J (A) IN THE CRIMINAL DISTRICT

COURT NO. 3 OF DALLAS COUNTY





	Per curiam.  Price, J., not participating.


O R D E R



	This is a post conviction application for a writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071.

	In August 1999, a jury convicted applicant of the offense of capital murder.  The jury
also answered the special issues submitted pursuant to Article 37.071 of the Texas Code of
Criminal Procedure in the favor of the State.  The trial court, accordingly, set punishment at
death on August 31, 1999.  This Court subsequently affirmed applicant's conviction and
sentence on direct appeal.  Feldman v. State, 71 S.W.3d 738 (Tex. Crim. App. 2002).

	In this writ application, Applicant presents seven allegations in which he challenges
the validity of his conviction and the resulting sentence.  The trial judge has entered findings
of fact and conclusions of law and recommends that relief be denied.

	This Court has reviewed the record with respect to the allegations made by Applicant. 
We agree with the trial court's recommendation and adopt the trial judge's findings and
conclusions.  Based upon these findings and conclusions and our own review of the record,
relief is denied.

	IT IS SO ORDERED THIS THE 18TH DAY OF APRIL, 2007.

Do Not Publish


